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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                     ***

4

5     UNITED STATES OF AMERICA,

6                         Plaintiff,                      2:13-cr-00238-GMN-VCF
                                                          ORDER
7     vs.
      JESS FLORES,
8
                           Defendant.
9
            Before the court is the Motion to Withdraw as Counsel (#59).
10
            IT IS HEREBY ORDERED that a hearing on Motion to Withdraw as Counsel (#59) is scheduled
11
     for 1:00 p.m., February 26, 2016, in courtroom 3D.
12
            Defendant must be present in person at the hearing.
13
            DATED this 16th day of February, 2016.
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                                                                  CAM FERENBACH
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                                                                  UNITED STATES MAGISTRATE JUDGE
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